                 Case 2022PR000094                    Document 12         Filed 03-10-2022          Page 1 of 1
                                                                                                                                 FILED
                                                                                                                                 03-10-2022
                                                                                                                                 Register in Probate
BY THE COURT:
                                                                                                                                 Racine County
DATE SIGNED: March 10, 2022                                                                                                      2022PR000094

                                       Electronically signed by Bruce Fishbain
                                                  Probate Registrar
                                                                                                              URT RAC
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STATE OF WISCONSIN, CIRCUIT COURT, RACINE                                                                  COUNTY
                                                                                                           Amended
IN THE MATTER OF THE ESTATE OF
MALCOLM ISAIAH JAMES                                                                Letters of Special Administration
Name                                                                                         (Formal Administration)
                                                                                  Case No. 2022PR000094


To:      SHERRY JAMES
         1316 16th Street Apt. 209
         Racine, WI 53403


The decedent, with date of birth 10-29-1993                                        and date of death 06-01-2021                                ,
was domiciled in Racine                                                   County, State of Wisconsin                                           .

You are granted
        only these specific powers: Authority to begin, maintain, manage, settle, and otherwise participate in all lawsuits involving
    the decedent or the decedent's estate. Request medical records, request discovery and or issue subpoenas for medical records.
    Obtain an Employer Identification Number and open an estate account. Deposit any settlement proceeds into the estate account.
    No distributions shall be made to any beneficiaries without further order of the Court.

            all the same powers, duties and liabilities as a personal representative.
                Except:

Other:




                            (COURT SEAL)


  Form completed by: (Name)
  Attorney Danielle Burza-Smith
  Address
  440 Science Dr. STE 101
  Madison, WI 53711
  Telephone Number                                    Bar Number
  608-447-0006                                        1123938




PR-1853, 10/10 Letter of Special Administration (Formal Administration)                         §§867.15, 867.17, and 879.57, Wisconsin Statutes
                           Case 2:22-cv-00344-PP            Filed
                                This form shall not be modified.     03/18/22
                                                                 It may           Pagewith
                                                                        be supplemented 1 of  1 Document
                                                                                           additional material. 1-3
